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                        THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION

KEVIN IMMEL, ADC #660654                                                          PLAINTIFF

v.                              Case No. 3:19-cv-00229-KGB

SUSAN COX                                                                       DEFENDANT

                                         JUDGMENT

       Pursuant to the Order entered in this matter on this date, it is considered, ordered, and

adjudged that plaintiff Kevin Immel’s complaint is dismissed without prejudice. The relief

requested is denied.

       It is so adjudged this 29th day of September, 2020.


                                                    _________________________________
                                                    Kristine G. Baker
                                                    United States District Judge
